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                                                                                          Form 3-1
               UNITED STATES COURT OF INTERNATIONAL TRADE


  KG DONGBU STEEL CO., LTD.,

                Plaintiff,

         v.                                                        SUMMONS
                                                                   Court No. 23-00055
  UNITED STATES,

                Defendant.



 TO:    The Attorney General, the Department of Commerce, and/or the Commissioner of
        U.S. Customs and Border Protection, and/or the United States International Trade
        Commission:

PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(c) to contest the determination described below.

                                           /s/ Mario Toscano
                                           Clerk of the Court


   1. Plaintiff KG Dongbu Steel Co., Ltd. is a foreign producer and exporter of
      corrosion-resistant (“CORE”) steel products from the Republic of Korea.
      Plaintiff is an interested party within the meaning of 19 U.S.C. § 1677(9)(A) and
      was a party to the U.S. Department of Commerce’s January 1, 2020 – December
      31, 2020 countervailing duty administrative review of Certain Corrosion-
      Resistant Steel Products from the Republic of Korea. Plaintiff has standing to
      commence this action under 28 U.S.C. § 2631(c) and 19 U.S.C. §
      1516a(a)(2)(A)(i)(I).
      (Name and standing of plaintiff)

   2. Plaintiff contests aspects of the U.S. Department of Commerce, International
      Trade Administration’s final results of the January 1, 2020 – December 31, 2020
      administrative review of the countervailing duty order on Certain Corrosion-
      Resistant Steel Products from the Republic of Korea. See Certain Corrosion-
      Resistant Steel Products From the Republic of Korea: Final Results and Partial
      Rescission of Countervailing Duty Administrative Review; 2020, 88 Fed. Reg.
      7,946 (Dep’t Commerce Feb. 7, 2023).
      (Brief description of contested determination)
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  3. February 1, 2023
     (Date of Determination)

  4. Commerce’s Final Results were published in the Federal Register on February 7,
     2023.
     (If applicable, date of publication in Federal Register of notice of contested
     determination)

/s/ Brady W. Mills                           Brady W. Mills
Signature of Plaintiffs’ Attorney            Morris, Manning & Martin, LLP
                                             1401 Eye Street, NW Suite 600
March 8, 2023                                Washington, DC 20005
Date                                         (202) 216-4116
                                             bmills@mmmlaw.com

                                             Counsel to KG Dongbu Steel Co., Ltd.
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                                                                                            Form 3-2
                         SERVICE OF SUMMONS BY THE CLERK

If this action, described in 28 U.S.C. 1581(c), is commenced to contest a determination listed in
section 516A(a)(2) or (3) of the Tariff Act of 1930, the action is commenced by filing a summons
only, and the clerk of the court is required to make service of the summons. For that purpose, list
below the complete name and mailing address of each defendant to be served.

UPON THE UNITED STATES

Attorney-in-Charge
U.S. Department of Justice
International Trade Field Office
National Courts Branch
Room 346
26 Federal Plaza
New York, NY 10278

Jeanne Davidson, Esq.
Director, Civil Division
U.S. Department of Justice
Commercial Litigation Branch
1100 L Street, NW, Room 12124
Washington, D.C. 20530

UPON THE DEPARTMENT OF COMMERCE

General Counsel
U.S. Department of Commerce
Mail Stop 5875 HCHB
14th Street & Constitution Avenue, NW
Washington, D.C. 20230

Chief Counsel
U.S. Department of Commerce
Office of the Chief Counsel for Trade Enforcement and Compliance
International Trade Administration
1401 Constitution Ave., NW
Washington, DC 20230


(As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006,
eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017,
eff. Oct. 25, 2017; Sept. 18, 2018, eff. Oct. 15, 2018.)
